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                                 FOR USE IN JUDGE WAITES CASES ONLY

                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA

 IN RE: Shirley K. Burgess                                  CASE NO: 19-01615

 (Set forth here all names including married, maiden,       CHAPTER 13
 and trade names used by debtor within the last 8
 years.)

                              DEBTOR(S)                      MOTION TO MODIFY PLAN AFTER CONFIRMATION
                                                                   AND OPPORTUNITY FOR HEARING

 Address: 5288 Seaboard Road

           Andrews, SC 29590

 Last four digits of Social-Security or Individual Tax-
 Payer-Identification (ITIN) No(s)., (if any): 1354



       The Court has confirmed a chapter 13 plan in this case. The debtor(s) moves, pursuant to 11 U.S.C. §
1329(a), and Fed. R. Bankr. P. 3015(h), to modify the confirmed plan. A copy of the plan with these modifications
included is attached.

        TAKE NOTICE that any response, return, and/or objection to this motion should be filed with the Court no
later than 21 days after the service of the modified chapter 13 plan, as computed under Fed. R. Bankr. P. 9006(a), on
the chapter 13 trustee, the debtor(s), and any attorney for the debtor(s).

        TAKE FURTHER NOTICE that no hearing will be held on this motion, except at the direction of the judge,
unless a response, return, and/or objection is timely filed and served, in which case the Court will conduct a hearing
on October 3, 2019 at 10:00 a m., at 145 King Street, Charleston, South Carolina. No further notice of this hearing
will be given.


Date: August 28, 2019                                    /s/William J. Barr
                                                        Signature of Attorney/Pro Se Debtor(s)
                                                        William J. Barr
                                                        Barr Law, LLC
                                                        108 N. Academy Street
                                                         Kingstree, SC 29556
                                                         (843) 355-5444
                                                        (843) 355-5194
                                                        barrlaw@ftc-i.net
                                                        District Court ID#1213
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                          First Name      Middle Name                 Last Name
Debtor 2
(Spouse, if filing) First Name       Middle Name            Last Name
United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA                                         Pre-confirmation modification
                                                                                                                    Post-confirmation modification
Case number:              19-01615
(If known)




District of South Carolina
Chapter 13 Plan
             12/17

Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the
                        form does not indicate that the option is appropriate in your circumstances. Plans that do not comply
                        with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, this Court’s local rules, and
                        judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case.
                        If you do not have an attorney, you may wish to consult one. Failure to object may constitute an implied
                        acceptance of and consent to the relief requested in this document.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file
                        an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
                        otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further
                        notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal
                        Rule of Bankruptcy Procedure 3002, you must file a timely proof of claim in order to be paid under any plan.
                        Confirmation of this plan does not bar a party in interest from objecting to a claim.

                        The following matters may be of particular importance. Debtors must check one box on each line to state
                        whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
                        both boxes are checked, the provision will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in             Included                  Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,               Included                  Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                        Included                  Not Included

1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                          Included                  Not Included
             through plan, set out in Section 3.1(c) and in Part 8

Part 2:       Plan Payments and Length of Plan

2.1      The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future
income as is necessary for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments
to the trustee as follows:


$200.00 per Month for 2 months, $1,097.00 per month for 58 months

Insert additional lines if needed.
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The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of
a modification to the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

2.2       Regular payments to the trustee will be made from future income in the following manner:

          Check all that apply:
                   The debtor will make payments pursuant to a payroll deduction order.
                   The debtor will make payments directly to the trustee.
                   Other (specify method of payment):


2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                   The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

Part 3:    Treatment of Secured Claims

To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance
with Official Rules and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as
provided for in a confirmed plan. However, if a claim is treated as secured in a confirmed plan and the affected creditor elects to
file an unsecured claim, such claim, unless timely amended, shall be treated as unsecured for purposes of plan distribution. Any
creditor holding a claim secured by property that is removed from the protection of the automatic stay by order, surrender, or
through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any secured claim.
This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of
the automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if
the sole reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to
a creditor, but pursuant to these provisions will not be paid, will be distributed according to the remaining terms of the plan. Any
creditor affected by these provisions and who has filed a timely proof of claim may file an itemized proof of claim for any
unsecured deficiency within a reasonable time after the removal of the property from the protection of the automatic stay.
Secured creditors that will be paid directly by the debtor may continue sending standard payment and escrow notices, payment
coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1       Maintenance of payments and cure or waiver of default, if any.

          Check all that apply. Only relevant sections need to be reproduced.

                   None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.



                   3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                   accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                   between this document and the Operating Order, the terms of the Operating Order control.

                   3.1(d) The debtor proposes to engage in loss mitigation efforts with         according to the applicable guidelines or procedures
                   of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                   Insert additional claims as needed
                   3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                   Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.
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                  Insert additional claims as needed



3.2     Request for valuation of security and modification of undersecured claims. Check one.

                  None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                  The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                            The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                  secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                  Estimated amount of secured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                  motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                  value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                  amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
                  below.

                            The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                  under Part 5.1 of this plan. If the estimated amount of a creditor’s secured claim is listed below as having no value, the creditor’s
                  allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the
                  Court, the amount of the creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this
                  paragraph.

                            Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by
                  section 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a
                  reasonable time.

Name of         Estimated       Collateral         Value of             Amount of claims Estimated amount              Interest       Estimated
creditor and    amount of                          collateral           senior to creditor's of secured claim          rate           monthly
description     creditor's                                              claim                                                         payment to
of property     total claim                                                                                                           creditor
securing lien                                                                                                                         (disbursed by
                                                                                                                                      the trustee)

Titlemax
of South
Carolina,
Inc.

2003
Cadillac
Escalade
291,665
miles                           2003
vehicle                         Cadillac
has                             Escalade
current                         291,665
title loan      $5,850.00       miles              $2,771.00                         $0.00             $2,771.00          6.00%                 $31.95


3.3     Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herei

        Check one.
                None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                The claims listed below are being paid in full without valuation or lien avoidance.

                  These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                  the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                  obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens
                  at the earliest of the time required by applicable state law, order of this Court, or upon completion of the payment of its allowed
                  secured claim in this case.
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Name of Creditor          Collateral                              Estimated amount of claim Interest rate               Estimated monthly payment
                                                                                                                        to creditor

                          Ford F-150
Auto Money, Inc.          VIN# 1FRTX17W23NA60727                                  $1,175.70                0.00%                                $19.60
                                                                                                                        (or more)

                                                                                                                        Disbursed by:
                                                                                                                           Trustee
                                                                                                                           Debtor


3.4     Lien avoidance.

Check one.
                 None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                 The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                 The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                 which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or
                 security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                 order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
                 claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid
                 in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be
                 avoided, provide the information separately for each lien.

                   Choose the appropriate form for lien avoidance

Name of         Estimated      Total of all        Applicable           Value of debtor's    Amount of lien not Amount of lien avoided
creditor and    amount of      senior/unavoid      Exemption and        interest in property avoided (to be paid
description     lien           able liens          Code Section                              in 3.2 above)
of property
securing lien
                                                    S.C. Code
                                                    Ann. § 15-
                                                   41-30(A)(5)
Georgeto
wn Kraft                                             ~Cash &
Credit                                                 liquid
Union
                                                   assets, only
Judgeme                                                if not
nt for
closed
                                                     claiming
bank                                               homestead
account         $505.44         $22,451.57                                           $0.00               $0.00                         100%
Name of         Estimated      Total of all        Applicable           Value of debtor's    Amount of lien not Amount of lien avoided
creditor and    amount of      senior/unavoid      Exemption and        interest in property avoided (to be paid
description     lien           able liens          Code Section                              in 3.2 above)
of property
securing lien
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Secretary
of
Housing
& Urban
Developm                                        S.C. Code
ent
                                               Ann. § 15-
1.16 acre                                              41-
of land
5288                                          30(A)(1)(a)
Seaboard                                      ~homestea
Road
Salters,        $19,864.5
                                              d or burial
SC 29590        1              $3,092.50              plot           $4,830.00                 $0.00                         100%
Name of         Estimated    Total of all     Applicable      Value of debtor's    Amount of lien not Amount of lien avoided
creditor and    amount of    senior/unavoid   Exemption and   interest in property avoided (to be paid
description     lien         able liens       Code Section                         in 3.2 above)
of property
securing lien
South
Carolina
Departme
nt of                                           S.C. Code
Revenue
                                               Ann. § 15-
1.16 acre                                              41-
of land
5288                                          30(A)(1)(a)
Seaboard                                      ~homestea
Road
Salters,
                                              d or burial
SC 29590        $1,123.41     $21,833.60              plot           $4,830.00                 $0.00                         100%
Name of         Estimated    Total of all     Applicable      Value of debtor's    Amount of lien not Amount of lien avoided
creditor and    amount of    senior/unavoid   Exemption and   interest in property avoided (to be paid
description     lien         able liens       Code Section                         in 3.2 above)
of property
securing lien




South
Carolina
Departme                                        S.C. Code
nt of
Revenue                                        Ann. § 15-
                                                       41-
1.16 acre
of land                                       30(A)(1)(a)
5288                                          ~homestea
Seaboard
Road
                                              d or burial
Salters,                                              plot
SC 29590        $1,463.65    $21,493.36                            $4,830..00               $0.00                          100%
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                     Use this for avoidance of liens on co-owned property only.

Name of            Total equity    Debtor’s equity Applicable               Non-exempt equity Estimated lien               Amount of Amount of lien
creditor and       (value of       (Total equity   Exemption and            (Debtor's equity                               lien not   avoided
description        debtor's        multiplied by   Code Section             less exemption)                                avoided(to
of property        property less   debtor’s                                                                                be paid in
securing lien      senior/unavoi   proportional                                                                            3.2 above)
                   dable liens)    interest in
                                   property)
-NONE-


Insert additional claims as needed.

 3.5       Surrender of collateral.

      Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:     Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support,
and pay regular payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come
due, unless otherwise ordered by the Court. Trustee’s fees and all allowed priority claims, including domestic support obligations
other than those treated in § 4.5, will be paid in full without postpetition interest.

4.2        Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3        Attorney's fees.

           a.        The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule
                     2016(b) disclosure statement filed in this case. Fees entitled to be paid through the plan and any
                     supplemental fees as approved by the Court shall be disbursed by the trustee as follows: Following
                     confirmation of the plan and unless the Court orders otherwise, the trustee shall disburse a dollar amount
                     consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the balance
                     of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds
                     remaining each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on
                     domestic support obligations. In instances where an attorney assumes representation in a pending pro se case
                     and a plan is confirmed, a separate order may be entered by the Court, without further notice, which allows
                     for the payment of a portion of the attorney’s fees in advance of payments to creditors.

           b.        If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and
                     agreed to file fee applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the
                     retainer and cost advance shall be held in trust until fees and expense reimbursements are approved by the
                     Court. Prior to the filing of this case, the attorney has received $       and for plan confirmation purposes
                     only, the fees and expenses of counsel are estimated at $         or less.

4.4        Priority claims other than attorney’s fees and those treated in § 4.5.

           Check one.
                     The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed
                     priority claim without further amendment of the plan.

                     Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                     a.         Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage
                                to (name of DSO recipient), at the rate of $          or more per month until the balance, without
                                interest, is paid in full. Add additional creditors as needed.
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                    b.        The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. §
                              101(14A) on a timely basis directly to the creditor.

                    c.        Any party entitled to collect child support or alimony under applicable non-bankruptcy law may
                              collect those obligations from property that is not property of the estate or with respect to the
                              withholding of income that is property of the estate or property of the debtor for payment of a
                              domestic support obligation under a judicial or administrative order or a statute.

              Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a pro rata
basis. If funds are available, the trustee is authorized to pay on any allowed priority claim without further amendment of the
plan.

4.5       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

          Check one.
                  None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



Part 5:   Treatment of Nonpriority Unsecured Claims

5.1       Nonpriority unsecured claims not separately classified. Check one

          Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent
          that funds are available after payment of all other allowed claims.

            The debtor estimates payments of less than 100% of claims.
            The debtor proposes payment of 100% of claims.
            The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                   None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3       Other separately classified nonpriority unsecured claims. Check one.

                   None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:   Executory Contracts and Unexpired Leases

6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other
          executory contracts and unexpired leases are rejected. Check one.

      None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

      Assumed Items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any contrary court order or
      Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.

      Name of creditor       Description of leased property      Current installment payment          Estimated amount of               Estimated month
                             or executory contract                                                    arrearage through month           payment
                                                                                                      of filing or conversion           on arrearage to
                                                                                                                                         disbursed by the
                             living room suit                                                                                                 trustee
      Aaron's                washer and dryer                      $         172.78                               $1,100.00                       $18.00
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      Part 7:    Vesting of Property of the Estate

     7.1        Property of the estate will vest in the debtor as stated below:
           Check the appliable box:

                 Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
                 remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
                 The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
                 plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
                 the debtor.

                 Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
                 only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

      Part 8:    Nonstandard Plan Provisions

     NOTE: Any conduit plan MUST check boxes 1.3, 1.4 and 3.1(s) to be effective, with conduit language in
     8.1. Judge Waites has approved this language but did suggest at meeting that if you have improvements
     to suggest, this is not final.

     Part I of this chapter 13 form plan indicates that all objections to the confirmation of the plan must be
     filed no later than 7 days before the date set for the hearing on confirmation, unless otherwise ordered
     by the Bankruptcy Court. In Operating Order 18-4, Judge Waites has otherwise ordered that all
     objections to the confirmation of a chapter 13 plan in cases before him shall be filed with the Court no
     later than 21 days after the date of service of the plan. Therefore, all objections to the confirmation of
     this chapter 13 plan must be filed with the Court no later than 21 days after the date of service of this
     plan.

     To treat prepetition arrears, ongoing payments, and Gap months, use language below. Add or delete rows as applicable. Change
     numbering if necessary:


     8.1 (a) Mortgage payments to be disbursed by the Trustee (“Conduit”):

     In addition to the below, the provisions of the assigned Judge’s Operating Order In re: Conduit Mortgage Payment in Chapter 13
     Cases are incorporated herein.

     Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:

Name of Creditor                Description of Collateral         Current            Monthly                Estimated amount      Monthly
                                                                  installment        payment to cure        of PRE-PETITION       payment on
                                (note if principal residence;     payment            GAP ** (post-          ARREARAGE**           pre-petition
                                include county tax map            (ongoing           petition               (including the        arrearage
                                number and complete               payment            mortgage               month of filing or
                                street address)                   amount) *          payments for the       conversion)*
                                                                                     two (2) months
                                                                                     immediately
                                                                                     following the
                                                                                     event beginning
                                                                                     conduit)
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                                                                  $ 725.04           $ 24.00               $ 8,959.54              $ 150.00
                                                                  Escrow for         Or more                                       Or more
Wells Fargo Bank, N.A.          5288 Seaboard Road                taxes:
                                Salters, SC 29590
                                                                  ☐ Yes
                                2005 Champion                     x No
                                    Manufactured Mobile
                                    Home                          Escrow for
                                Serial Number 023-10403A/B        insurance:
                                                                  x Yes
                                1.16 acre of land
                                                                  ☐ No
                                parcel no 45-208-079

                                                                  $                  $                     $                       $
                                                                  Escrow for         Or more                                       Or more
                                                                  taxes:
                                                                  ☐ Yes
                                                                  ☐ No

                                                                  Escrow for
                                                                  insurance:
                                                                  ☐ Yes
                                                                  ☐ No


     * Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP 3002(c)
     control over any contrary amounts above, and any Notice of Payment Change that might be filed to amend the ongoing monthly
     payment amount.
     ** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim Attachment
     and any Notice of Payment Change that might be filed to amend the monthly payment amount, but should not be included in the
     prepetition arrears amount.

     All payments due to the Mortgage Creditor as described in any allowed Notice of Post-petition Mortgage Fees, Expenses,
     and Charges under F.R.B.P. 3002.1, filed with the Court, will be paid by the Trustee, on a pro rata basis as funds are
     available. See the Operating Order of the Judge assigned to this case.

     Once the trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f), the debtor shall be directly responsible for ongoing
     mortgage payments and any further post-petition fees and charges.
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Part 9:   Signatures:

9.1       Signatures of debtor and debtor attorney

          The debtor and the attorney for the debtor, if any, must sign below.

X     /s/ Shirley Kayte Burgess                                         X
      Shirley Kayte Burgess                                                    Signature of Debtor 2
      Signature of Debtor 1

      Executed on     August 28, 2019                                          Executed on

X     /s/ Attorney William Joseph Barr                                  Date     August 28, 2019
      Attorney William Joseph Barr 1213
      Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor
certify(ies) that this Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.
